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13   [Additional counsel appear on signature page]
14
                           UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
17
      TSENGKONG HU, Individually and           No.
18    on behalf of all others similarly
19    situated,                                CLASS ACTION COMPLAINT
                                               FOR VIOLATIONS OF THE
20                  Plaintiff,                 FEDERAL SECURITIES LAWS
21
                    v.                         CLASS ACTION
22
23    DIDI GLOBAL INC., WILL WEI           JURY TRIAL DEMANDED
      CHENG, JEAN QING LIU, STEPHEN
24
      JINGSHI ZHU, ALAN YUE ZHUO,
25    ZHIYI CHEN, MARTIN CHI PING
26    LAU, KENTARO MATSUI, ADRIA
      PERICA, DANIEL YONG ZHANG,
27    (additional defendants on next page)
28
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 1    GOLDMAN SACHS (ASIA) L.L.C.,
      MORGAN STANLEY & CO. LLC,
 2    J.P. MORGAN SECURITIES LLC,
 3    BOFA SECURITIES, INC.,
      BARCLAYS CAPITAL INC., CHINA
 4    RENAISSANCE SECURITIES
 5    (HONG KONG) LIMITED,
 6    CHINA INTERNATIONAL
      CAPITAL CORPORATION HONG
 7    KONG SECURITIES LIMITED,
 8    CITIGROUP GLOBAL MARKETS
      INC., GUOTAI JUNAN SECURITIES
 9    (HONG KONG) LIMITED, HSBC
10    SECURITIES (USA) INC., UBS
      SECURITIES LLC, BOCI ASIA
11
      LIMITED, BOCOM
12    INTERNATIONAL SECURITIES
13    LIMITED, CCB INTERNATIONAL
      CAPITAL LIMITED, CLSA
14    LIMITED, CMB INTERNATIONAL
15    CAPITAL LIMITED, FUTU INC.,
      ICBC INTERNATIONAL
16
      SECURITIES LIMITED, MIZUHO
17    SECURITIES USA LLC, TIGER
18    BROKERS (NZ) LIMITED,
      COLLEEN A. DE VRIES, and
19    COGENCY GLOBAL, INC.,
20
                  Defendants.
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 1         Plaintiff Tsengkong Hu (“Plaintiff”), individually and on behalf of all other
 2   persons similarly situated, by and through Plaintiff’s undersigned attorneys, alleges
 3   the following based upon information and belief, except as to those allegations
 4   concerning Plaintiff, which are alleged upon personal knowledge.           Plaintiff’s
 5   information and belief is based upon, inter alia, the investigation conducted by and
 6   through Plaintiff’s attorneys, which included, among other things, a review of the
 7   Defendants’ public documents, announcements, public filings, wire and press
 8   releases published by and regarding DiDi Global Inc. (“DiDi,” or the “Company”),
 9   and information publicly available. Plaintiff believes that substantial evidentiary
10   support will exist for the allegations set forth herein after a reasonable opportunity

11   for discovery.

12                              NATURE OF THE ACTION

13         1.     Plaintiff brings this securities class action on behalf of persons or

14
     entities who purchased or otherwise acquired publicly traded DiDi securities: (1)

15
     pursuant and/or traceable to the registration statement and related prospectus
     (collectively, the “Registration Statement”) issued in connection with DiDi’s June
16
     30, 2021 initial public offering (the “IPO” or “Offering”); and/or (2) between June
17
     30, 2021 and July 21, 2021, inclusive (the “Class Period”), seeking to recover
18
     compensable damages caused by Defendants’ violations of the Securities Act of
19
     1933 (the “Securities Act”) and violations of Sections 10(b) and 20(a) of the
20
     Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5,
21
     promulgated thereunder.
22
           2.     On or about June 30, 2021, Defendants held the IPO, issuing
23
     approximately 316,800,000 American Depositary Shares (“ADSs”) to the investing
24
     public at $14.00 per ADS, pursuant to the Registration Statement.
25
           3.     By the commencement of this action, the Company’s ADSs traded
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     significantly below the IPO price. As a result, investors were damaged.
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 1                              JURISDICTION AND VENUE
 2          4.     The Securities Act claims asserted herein arise under and pursuant to
 3   Sections 11 and 15 of the Securities Act, 15 U.S.C. §§ 77k and 77o.
 4          5.     The Exchange Act claims asserted herein arise under Sections 10(b)
 5   and 20(a) of the Exchange Act, 15 U.S.C. §§ 78j(b) and 78t(a), and SEC Rule 10b-
 6   5 promulgated thereunder, 17 C.F.R. § 240.10b-5.
 7          6.     This Court has jurisdiction over the subject matter of this action
 8   pursuant to 28 U.S.C. § 1331 and § 22 of the Securities Act and 28 U.S.C. § 1331
 9   and Section 27 of the Exchange Act.
10          7.     This Court has jurisdiction over each defendant named herein because
11   each defendant has sufficient minimum contacts with this District so as to render
12   the exercise of jurisdiction by this Court permissible under traditional notions of
13   fair play and substantial justice. The Company also maintains a research office in
14   this District focused on natural language processing and speech technologies.
15          8.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and
16   Section 22(a) of the Securities Act (15 U.S.C. § 77v(a)) as a significant portion of
17   the Defendants’ actions, and the subsequent damages took place within this District
18   and Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as
19   the alleged misstatements entered and subsequent damages took place within this
20   District.
21          9.     In connection with the acts, conduct and other wrongs alleged in this
22   Complaint, Defendants, directly or indirectly, used the means and instrumentalities
23   of interstate commerce, including but not limited to, the United States mails,
24   interstate telephone communications and the facilities of a national securities
25   exchange. Defendants disseminated the statements alleged to be false and
26   misleading herein into this District, and Defendants solicited purchasers of DiDi
27   securities in this District.
28   ///
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 1                                         PARTIES
 2         10.    Plaintiff, as set forth in the accompanying Certification, purchased the
 3   Company’s securities at artificially inflated prices pursuant to the IPO and during
 4   the Class Period and was damaged upon the revelation of the corrective disclosure.
 5   Plaintiff is a resident of Rocklin, California.
 6         11.    Defendant DiDi is purportedly a mobility technology platform,
 7   providing ride hailing and other services primarily in the People’s Republic of
 8   China (“PRC”), Brazil, Mexico and internationally. DiDi provides ride hailing, taxi
 9   hailing, chauffeur, hitch, and other forms of shared mobility services, as well as
10   enterprise business ride solutions; auto solutions comprising leasing, refueling, and
11   maintenance and repair services; electric vehicle leasing services; bike and e-bike
12   sharing, intra-city freight, food delivery, and financial services. The Company was
13   formerly known as Xiaoju Kuaizhi Inc. but changed its name to DiDi Global Inc. in
14   June 2021. The Company is commonly referred to as “the Uber of China.”
15         12.    The Company is incorporated in the Cayman Islands and is
16   headquartered at No. 1 Block B, Shangdong Digital Valley, No. 8 Dongbeiwang
17   West Road, Haidian District, Beijing, PRC. DiDi securities trade on the New York
18   Stock Exchange (“NYSE”) under the ticker symbol “DIDI.”
19         13.    Defendant Will Wei Cheng (“Cheng”) was at the time of the IPO and
20   throughout the Class Period the Company’s Chief Executive Officer (“CEO”) and
21   Chairman of the Board of Directors. Defendant Wang reviewed, contributed to, and
22   signed the Registration Statement.
23         14.    Defendant Jean Qing Liu (“Liu”) was at the time of the IPO and
24   throughout the Class Period the Company’s President and a Director. Defendant
25   Liu reviewed, contributed to, and signed the Registration Statement.
26         15.    Defendant Stephen Jingshi Zhu (“Zhu”) was at the time of the IPO and
27   throughout the Class Period the Company’s Senior Vice President and CEO of the
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 1   International Business Group and a Director. Defendant Zhu reviewed, contributed
 2   to, and signed the Registration Statement.
 3         16.   Defendant Alan Yue Zhuo (“Zhuo”) was at the time of the IPO and
 4   throughout the Class Period the Company’s Chief Financial Officer (“CFO”).
 5         17.   The Defendants named in ¶¶ 12-15 are sometimes referred to herein as
 6   the “Executive Defendants.”
 7         18.   Each of the Executive Defendants:
 8               (a)      directly participated in the management of the Company;
 9               (b)      was directly involved in the day-to-day operations of the
10               Company at the highest levels;
11               (c)      was privy to confidential proprietary information concerning the
12               Company and its business and operations;
13               (d)      was directly or indirectly involved in drafting, producing,
14               reviewing and/or disseminating the false and misleading statements
15               and information alleged herein;
16               (e)      was directly or indirectly involved in the oversight or
17               implementation of the Company’s internal controls;
18               (f)      was aware of or recklessly disregarded the fact that the false and
19               misleading statements were being issued concerning the Company;
20               and/or
21               (g)      approved or ratified these statements in violation of the federal
22               securities laws.
23         19.   The Company is liable for the acts of the Executive Defendants and its
24   employees under the doctrine of respondeat superior and common law principles
25   of agency because all of the wrongful acts complained of herein were carried out
26   within the scope of their employment.
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 1         20.    The scienter of the Executive Defendants and other employees and
 2   agents of the Company is similarly imputed to the Company under respondeat
 3   superior and agency principles.
 4         21.    Defendant Zhiyi Chen was a Director of the Company at the time of
 5   the IPO and signed or authorized the signing of the Company’s Registration
 6   Statement.
 7         22.    Defendant Martin Chi Ping Lau was a Director of the Company at the
 8   time of the IPO and signed or authorized the signing of the Company’s Registration
 9   Statement.
10         23.    Defendant Kentaro Matsui was a Director of the Company at the time
11   of the IPO and signed or authorized the signing of the Company’s Registration
12   Statement.
13         24.    Defendant Adrian Perica was a Director of the Company at the time of
14   the IPO and signed or authorized the signing of the Company’s Registration
15   Statement.
16         25.    Defendant Daniel Yong Zhang was a Director of the Company at the
17   time of the IPO and signed or authorized the signing of the Company’s Registration
18   Statement.
19         26.    The Defendants named in ¶¶ 21-25 are sometimes referred to herein as
20   the “Director Defendants.”
21         27.    The Executive Defendants and the Director Defendants are sometimes
22   referred to herein as the “Individual Defendants.”
23         28.    Each of the Individual Defendants signed or authorized the signing of
24   the Registration Statement, solicited the investing public to purchase securities
25   issued pursuant thereto, hired and assisted the underwriters, planned and contributed
26   to the IPO and Registration Statement, and attended road shows and other
27   promotions to meet with and present favorable information to potential DiDi
28   investors, all motivated by their own and the Company’s financial interests.
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 1          29.   Defendant Goldman Sachs (Asia) L.L.C. (“Goldman Sachs”) is an
 2   investment banking firm that acted as a representative underwriter of the
 3   Company’s IPO, helping to draft and disseminate the IPO documents. Goldman
 4   Sach’s address is 68th Floor, Cheung Kong Center, 2 Queen’s Road, Central, Hong
 5   Kong Special Administrative Region of the PRC.
 6          30.   Defendant Morgan Stanley & Co. LLC (“Morgan Stanley”) is an
 7   investment banking firm that acted as representative underwriter of the Company’s
 8   IPO, helping to draft and disseminate the IPO documents. Morgan Stanley’s address
 9   is 1585 Broadway, New York, NY 10036.
10          31.   Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) is an
11   investment banking firm that acted as representative underwriter of the Company’s
12   IPO, helping to draft and disseminate the IPO documents. J.P. Morgan’s address is
13   383 Madison Avenue, New York, NY 10179.
14          32.   Defendant BofA Securities, Inc. (“BofA”) is an investment banking
15   firm that acted as underwriter of the Company’s IPO, helping to draft and
16   disseminate the IPO documents. BofA’s address is One Bryant Park, New York,
17   NY 10036.
18          33.   Defendant Barclays Capital Inc. (“Barclays”) is an investment banking
19   firm that acted as underwriter of the Company’s IPO, helping to draft and
20   disseminate the IPO documents. Barclays’ address is 745 Seventh Avenue, New
21   York, NY 10019.
22          34.   Defendant China Renaissance Securities (Hong Kong) Limited
23   (“China Renaissance”) is an investment banking firm that acted as underwriter of
24   the Company’s IPO, helping to draft and disseminate the IPO documents. China
25   Renaissance’s address is Units 8107-08, Level 81, International Commerce Centre,
26   1 Austin Road West, Kowloon, Hong Kong Special Administrative Region of the
27   PRC.
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 1          35.   Defendant China International Capital Corporation Hong Kong
 2   Securities Limited (“CICC”) is an investment banking firm that acted as underwriter
 3   of the Company’s IPO, helping to draft and disseminate the IPO documents. CICC’s
 4   address is 29/F, One International Finance Centre, 1 Harbour View Street, Central,
 5   Hong Kong Special Administrative Region of the PRC.
 6          36.   Defendant Citigroup Global Markets Inc. (“Citigroup”) is an
 7   investment banking firm that acted as underwriter of the Company’s IPO, helping
 8   to draft and disseminate the IPO documents. Citigroup’s address is 388 Greenwich
 9   Street, New York, NY 10013.
10          37.   Defendant Guotai Junan Securities (Hong Kong) Limited (“Guotai
11   Junan”) is an investment banking firm that acted as underwriter of the Company’s
12   IPO, helping to draft and disseminate the IPO documents. Guotai Junan’s address
13   is 27/F., Low Block, Grand Millennium Plaza, 181 Queen's Road Central, Hong
14   Kong Special Administrative Region of the PRC.
15          38.   Defendant HSBC Securities (USA) Inc. (“HSBC”) is an investment
16   banking firm that acted as underwriter of the Company’s IPO, helping to draft and
17   disseminate the IPO documents. HSBC’s address is 452 Fifth Avenue, New York
18   City, NY 10018.
19          39.   Defendant UBS Securities LLC (“UBS”) is an investment banking
20   firm that acted as underwriter of the Company’s IPO, helping to draft and
21   disseminate the IPO documents. UBS’ address is 1285 Avenue of The Americas,
22   New York, NY 10019.
23          40.   Defendant BOCI Asia Limited (“BOCI”) is an investment banking
24   firm that acted as underwriter of the Company’s IPO, helping to draft and
25   disseminate the IPO documents. BOCI’s address is 26th Floor, Bank of China
26   Tower 1 Garden Road, Central, Hong Kong Special Administrative Region of the
27   PRC.
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  1          41.   Defendant BOCOM International Securities Limited (“BOCOM”) is
  2   an investment banking firm that acted as underwriter of the Company’s IPO, helping
  3   to draft and disseminate the IPO documents. BOCOM’s address is 9th Floor, Man
  4   Yee Building, 68 Des Voeux Road, Central, Hong Kong Special Administrative
  5   Region of the PRC.
  6          42.   Defendant CCB International Capital Limited (“CCB”) is an
  7   investment banking firm that acted as underwriter of the Company’s IPO, helping
  8   to draft and disseminate the IPO documents. CCB’s address is 12/F, CCB Tower,
  9   3 Connaught Road Central, Central, Hong Kong Special Administrative Region of
 10   the PRC.
 11          43.   Defendant CLSA Limited (“CLSA”) is an investment banking firm
 12   that acted as underwriter of the Company’s IPO, helping to draft and disseminate
 13   the IPO documents. CLSA’s address is 18/F, One Pacific Place, 88 Queensway,
 14   Hong Kong Special Administrative Region of the PRC.
 15          44.   Defendant CMB International Capital Limited (“CMB”) is an
 16   investment banking firm that acted as underwriter of the Company’s IPO, helping
 17   to draft and disseminate the IPO documents. CMB’s address is 45F, Champion
 18   Tower, 3 Garden Road, Central, Hong Kong Special Administrative Region of the
 19   PRC.
 20          45.   Defendant Futu Inc. (“Futu”) is an investment banking firm that acted
 21   as underwriter of the Company’s IPO, helping to draft and disseminate the IPO
 22   documents. Futu’s address is 720 University Avenue, Suite 100, Palo Alto,
 23   CA 94301.
 24          46.   Defendant ICBC International Securities Limited (“ICBC”) is an
 25   investment banking firm that acted as underwriter of the Company’s IPO, helping
 26   to draft and disseminate the IPO documents. ICBC’s address is 37/F, ICBC Tower,
 27   3 Garden Road, Hong Kong Special Administrative Region of the PRC.
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  1         47.    Defendant Mizuho Securities USA LLC (“Mizuho”) is an investment
  2   banking firm that acted as underwriter of the Company’s IPO, helping to draft and
  3   disseminate the IPO documents. Mizuho’s address is 1271 Avenue of the Americas,
  4   Floors 2, 3, 4, 18, and 19, New York, NY 10020.
  5         48.    Defendant Tiger Brokers (NZ) Limited (“Tiger Brokers”) is an
  6   investment banking firm that acted as underwriter of the Company’s IPO, helping
  7   to draft and disseminate the IPO documents. Tiger Brokers’ address is Level 16,
  8   191 Queen Street, Auckland Central, New Zealand, 1010.
  9         49.    Defendants named in ¶¶ 29-48 are referred to herein as the
 10   “Underwriter Defendants.”
 11         50.     Pursuant to the Securities Act, the Underwriter Defendants are liable
 12   for the false and misleading statements in the Registration Statement as follows:
 13         (a)    The Underwriter Defendants are investment banking houses that
 14   specialize in, inter alia, underwriting public offerings of securities. They served as
 15   the underwriters of the IPO and received substantial fees from the IPO collectively
 16   for their service. The Underwriter Defendants arranged a multi-city roadshow prior
 17   to the IPO during which they, and representatives from the Company, met with
 18   potential investors and presented highly favorable information about the Company,
 19   its operations and its financial prospects.
 20         (b)    The Underwriter Defendants also demanded and obtained an
 21   agreement from the Company and the Individual Defendants that DiDi would
 22   indemnify and hold the Underwriter Defendants harmless from any liability under
 23   the federal securities laws.
 24         (c)    Representatives of the Underwriter Defendants also assisted the
 25   Company and the Individual Defendants in planning the IPO, and purportedly
 26   conducted an adequate and reasonable investigation into the business and operations
 27   of DiDi, an undertaking known as a “due diligence” investigation. The due diligence
 28   investigation was required of the Underwriter Defendants in order to engage in the
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  1   IPO. During the course of their “due diligence,” the Underwriter Defendants had
  2   continual access to internal, confidential, and current corporate information
  3   concerning the Company’s most up-to-date operational and financial results and
  4   prospects.
  5         (d)    In addition to availing themselves of virtually unlimited access to
  6   internal corporate documents, agents of the Underwriter Defendants met with the
  7   Company’s lawyers, management, and top executives and engaged in “drafting
  8   sessions.” During these sessions, understandings were reached as to: (i) the strategy
  9   to best accomplish the IPO; (ii) the terms of the IPO, including the price at which
 10   the Company’s securities would be sold; (iii) the language to be used in the
 11   Registration Statement; (iv) what disclosures about the Company would be made in
 12   the Registration Statement and in turn, what information would be omitted from
 13   disclosure; and (v) what responses would be made to the SEC in connection with
 14   its review of the Registration Statement. As a result of those constant contacts and
 15   communications between the Underwriter Defendants’ representatives and the
 16   Company’s management and top executives including, but not limited to the
 17   Executive Defendants, the Underwriter Defendants knew of, or in the exercise of
 18   reasonable care should have known of, the Company’s existing problems as detailed
 19   herein.
 20         51.    The Underwriter Defendants caused the Registration Statement to be
 21   filed with the SEC and declared effective in connection with the offers and sales of
 22   securities registered thereby, including those to Plaintiff and the other members of
 23   the Class.
 24         52.    Defendant Colleen A. De Vries (“De Vries”) was at the time of the IPO
 25   DiDi’s duly authorized representative in the United States. Defendant De Vries
 26   signed the false and misleading Registration Statement on her own behalf and on
 27   behalf of Defendant Cogency Global Inc. (“Cogency Global”), Defendant De Vries’
 28   employer.
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  1         53.     Defendant Cogency Global was DiDi’s authorized U.S. representative
  2   for purposes of the IPO. Defendant De Vries, who signed the Registration
  3   Statement, was an employee of Defendant Cogency Global. As a result, Defendant
  4   Cogency Global is liable for the securities law violations committed by Defendant
  5   De Vries in its capacity as employer and as a control person under the Securities
  6   Act
  7         54.     The   Company,     the   Individual   Defendants,    the   Underwriter
  8   Defendants, Defendant De Vries, and Defendant Cogency Global are referred to
  9   herein, collectively, as the “Defendants.”
 10                           SUBSTANTIVE ALLEGATIONS
 11                 DiDi’s False and/or Misleading Registration Statement
 12         55.     On June 10, 2021, DiDi (then-named Xiaoju Kuaizhi Inc.) filed with
 13   the SEC a registration statement on Form F-1, which in combination with
 14   subsequent amendments on Forms F-1/A and filed pursuant to Rule 424(b)(4), are
 15   collectively referred to as the Registration Statement and issued in connection with
 16   the IPO.
 17         56.     On June 30, 2021, DiDi filed with the SEC the final prospectus for the
 18   IPO on Form 424B4, which forms part of the Registration Statement. In the IPO,
 19   DiDi sold 316,800,000 ADSs at $14.00 per share.
 20         57.     The Registration Statement was negligently prepared and, as a result,
 21   contained untrue statements of material facts or omitted to state other material facts
 22   necessary to make the statements made not misleading, and was not prepared in
 23   accordance with the rules and regulations governing its preparation.
 24         58.     Under applicable SEC rules and regulations, the Registration
 25   Statement was required to disclose known trends, events or uncertainties that were
 26   having, and were reasonably likely to have, an impact on the Company’s continuing
 27   operations.
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  1         59.      The Registration Statement emphasized that DiDi relied on the market
  2   in China for its operations, stating that “China is the best starting place for realizing
  3   [DiDi’s] vision for mobility” and “China’s mobility market is expected to reach
  4   US$3.9 trillion by 2040, by which time the penetration of shared mobility and
  5   electric vehicles is expected to have increased to 35.9% and 50.2%, respectively…”
  6         60.      DiDi also stated that “[i]n 2020, the number of ride hailing transactions
  7   from our top five cities in China constituted approximately 20% of our total China
  8   ride hailing transactions.” Therefore, “any changes to local laws or regulations
  9   within these cities that affect [the Company’s] ability to operate or increase [its]
 10   operating expenses in these markets would have an adverse effect on our business.”
 11         61.      However, throughout the Registration Statement, DiDi failed to
 12   disclose its ongoing discussions with Chinese authorities related to DiDi’s non-
 13   compliance with certain laws and regulations, including with regard to technology-
 14   related and cybersecurity connected to collecting and storing data such as personal
 15   information.
 16         62.      Rather than disclose these regulatory discussions into the Company’s
 17   practices and non-compliance with relevant technology laws, the Registration
 18   Statement vaguely discussed China’s regulatory regime with regards to data
 19   security. Thus, the risk disclosures themselves were materially misleading because
 20   they failed to disclose the ongoing discussions with Chinese authorities or the
 21   Company’s non-compliance with the relevant regulations. Specifically, the
 22   Registration Statement represented that:
 23
 24         Regulation Relating to Internet Security
 25         The PRC government has enacted various laws and regulations with
 26         respect to internet security and protection of personal information from
 27         any inappropriate collection activities, abuse or unauthorized
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  1         disclosure. Internet information in the PRC is regulated and restricted
  2         from a national security standpoint. …
  3
  4         According to the Cybersecurity Law and other related laws and
  5         regulations, internet service providers are required to take measures to
  6         ensure internet security by complying with security protection
  7         obligations, formulating cybersecurity emergency response plans, and
  8         providing technical assistance and support for public security and
  9         national security authorities. In addition, any collection, process and
 10         use of a user’s personal information must be subject to the consent of
 11         the user, be legal, rational and necessary, and be limited to specified
 12         purposes, methods and scopes. An internet service provider must also
 13         keep such information strictly confidential, and is further prohibited
 14         from divulging, tampering with or destroying any such information, or
 15         selling or providing such information to other parties illegally.
 16
 17         Failure to comply with the above laws and regulations may subject
 18         the internet service providers to administrative penalties including,
 19         without limitation, fines, suspension of business operation, shut-
 20         down of the websites, revocation of licenses and even criminal
 21         liabilities.
 22
 23         On June 10, 2021, the Standing Committee of the National People's
 24         Congress of China promulgated the Data Security Law, which will take
 25         effect in September 2021. The Data Security Law provides for data
 26         security and privacy obligations on entities and individuals carrying
 27         out data activities. The Data Security Law also introduces a data
 28         classification and hierarchical protection system based on the
 29
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  1         importance of data in economic and social development, as well as the
  2         degree of harm it will cause to national security, public interests, or
  3         legitimate rights and interests of individuals or organizations when such
  4         data is tampered with, destroyed, leaked, or illegally acquired or used.
  5         The appropriate level of protection measures is required to be taken for
  6         each respective category of data. For example, a processor of important
  7         data shall designate the personnel and the management body
  8         responsible for data security, carry out risk assessments for its data
  9         processing activities and file the risk assessment reports with the
 10         competent authorities. In addition, the Data Security Law provides a
 11         national security review procedure for those data activities which may
 12         affect national security and imposes export restrictions on certain data
 13         and information. As the Data Security Law was recently promulgated
 14         and has not yet taken effect, we may be required to make further
 15         adjustments to our business practices to comply with this law.
 16
 17         Regulations Relating to Privacy Protection
 18         In recent years, PRC government authorities have enacted laws and
 19         regulations on internet use to protect personal information from any
 20         unauthorized disclosure. The Cyber Security Law imposes certain data
 21         protection obligations on network operators, including that network
 22         operators may not disclose, tamper with, or damage users’ personal
 23         information that they have collected, or provide users’ personal
 24         information to others without consent. Exempted from these rules is
 25         information irreversibly processed to preclude identification of specific
 26         individuals. Moreover, network operators are obligated to delete
 27         unlawfully     collected   information    and   to   amend     incorrect
 28         information.
 29
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  1
  2         The Several Provisions on Regulating the Market Order of Internet
  3         Information Services, issued by the MIIT on December 29, 2011 and
  4         effective on March 15, 2012, stipulate that internet information service
  5         providers may not collect any user personal information or provide any
  6         such information to third parties without the consent of a user, unless
  7         otherwise stipulated by laws and administrative regulations. “User
  8         Personal information” is defined as information relevant to the users
  9         that can lead to the recognition of the identity of the users independently
 10         or in combination with other information. An internet information
 11         service provider must expressly inform the users of the method, content
 12         and purpose of the collection and processing of such user personal
 13         information and may only collect such information as necessary for the
 14         provision of its services. An internet information service provider is
 15         also required to properly store user personal information, and in case
 16         of any leak or likely leak of the user personal information, the internet
 17         information service provider must take immediate remedial measures
 18         and, in severe circumstances, make an immediate report to the
 19         telecommunications regulatory authority.
 20
 21         The Decision on Strengthening the Protection of Online Information,
 22         issued by the Standing Committee of the National People’s Congress
 23         on December 28, 2012, and the Order for the Protection of
 24         Telecommunication and Internet User Personal Information, issued by
 25         the MIIT on July 16, 2013, stipulate that any collection and use of user
 26         personal information must be subject to the consent of the user, abide
 27         by the principles of legality, rationality and necessity and be within the
 28         specified purposes, methods and scope. An internet information
 29
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  1         service provider must also keep such information strictly confidential,
  2         and is further prohibited from divulging, tampering with or
  3         destroying any such information, or selling or proving such
  4         information to other parties. An internet information service provider
  5         is required to take technical and other measures to prevent the
  6         collected personal information from any unauthorized disclosure,
  7         damage or loss. Any violation of the above decision or order may
  8         subject the internet information service provider to warnings, fines,
  9         confiscation of illegal gains, revocation of licenses, cancelation of
 10         filings, closedown of websites or even criminal liabilities.
 11
 12         With respect to the security of information collected and used by mobile
 13         apps, pursuant to the Announcement of Conducting Special
 14         Supervision against the Illegal Collection and Use of Personal
 15         Information by Apps, which was issued by the Cyberspace
 16         Administration of China [the “CAC”], the MIIT, the Ministry of Public
 17         Security, and the State Administration for Market Regulation on
 18         January 23, 2019, app operators shall collect and use personal
 19         information in compliance with the Cyber Security Law and shall be
 20         responsible for the security of personal information obtained from
 21         users and take effective measures to strengthen personal information
 22         protection. Furthermore, app operators shall not force their users to
 23         make authorization by means of default settings, bundling, suspending
 24         installation or use of the app or other similar means and shall not collect
 25         personal information in violation of laws, regulations or breach of user
 26         agreements. Such regulatory requirements were emphasized by the
 27         Notice on the Special Rectification of Apps Infringing upon User's
 28         Personal Rights and Interests, which was issued by MIIT on October
 29
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  1         31, 2019. On November 28, 2019, the Cyberspace Administration of
  2         China, the MIIT, the Ministry of Public Security and the State
  3         Administration for Market Regulation jointly issued the Methods of
  4         Identifying Illegal Acts of Apps to Collect and Use Personal
  5         Information. This regulation further illustrates certain commonly seen
  6         illegal practices of app operators in terms of personal information
  7         protection and specifies acts of app operators that will be considered as
  8         “collection and use of personal information without users’ consen.t”
  9         [sic]
 10
 11         On May 28, 2020, the National People’s Congress adopted the Civil
 12         Code, which came into effect on January 1, 2021. Pursuant to the Civil
 13         Code, the personal information of a natural person shall be protected by
 14         the law. Any organization or individual shall legally obtain such
 15         personal information of others when necessary and ensure the safety of
 16         such information, and shall not illegally collect, use, process or transmit
 17         personal information of others, or illegally purchase or sell, provide or
 18         disclose personal information of others.
 19
 20   (Emphasis added.)
 21         63.     The generic disclosures about China’s internet security regulations in
 22   the Registration Statement are in contrast to the Company’s specific disclosures
 23   regarding the risks of relevant Chinese authorities’ anti-trust and anti-monopoly
 24   investigations. The Registration Statement stated, in pertinent part, the following
 25   regarding its relevant regulations, discussions, investigations, and proceedings:
 26   ///
 27   ///
 28   ///
 29
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  1         LEGAL PROCEEDINGS
  2         We are regularly subject to various types of legal proceedings by
  3         drivers, consumers, employees, commercial partners, competitors, and
  4         government agencies, among others, as well as investigations and other
  5         administrative or regulatory proceedings by government agencies. In
  6         the ordinary course of our business, various parties claim that we are
  7         liable for damages related to accidents or other incidents involving
  8         drivers, consumers or other third parties on our platform. We are also
  9         subject to contractual disputes with drivers and other third parties. We
 10         are currently named as a defendant in a number of matters related to
 11         accidents or other incidents involving drivers, consumers and other
 12         third parties, and in matters related to contract disputes. Furthermore,
 13         we are involved in disputes with third parties asserting, among other
 14         things, alleged infringement of their intellectual property rights.
 15
 16         There is no pending or threatened legal proceeding that individually,
 17         in our opinion, is likely to have a material impact on our business,
 18         financial condition or results of operations. However, results of
 19         litigation and claims are inherently unpredictable and legal proceedings
 20         related to such accidents or incidents could, in the aggregate, have a
 21         material impact on our business, financial condition and results of
 22         operations. Regardless of the outcome, litigation can have an adverse
 23         impact on us because of defense and settlement costs individually and
 24         in the aggregate, diversion of management resources and other factors.
 25
 26         64.   Rather than disclose the known regulatory discussions into the
 27   Company’s practices and non-compliance with relevant laws, the Registration
 28   Statement provided boilerplate risk statements about potential contingent future
 29
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  1   issues that may occur, rather than issues that had materialized. While these risk
  2   statements acknowledged the material importance to investors of China’s regulatory
  3   regime and potential investigations in into the Company, these statements neglected
  4   to warn investors of the risks that had materialized for the the Company – the
  5   ongoing technology-based issues, investigations, and discussions. The Registration
  6   Statement stated, in pertinent part, the following regarding its relevant risks, among
  7   other things, connected to data security and cybersecurity:
  8
  9         Our business is subject to a variety of laws, regulations, rules, policies
 10         and other obligations regarding privacy, data protection and
 11         information security. Any losses, unauthorized access or releases of
 12         confidential information or personal data could subject us to significant
 13         reputational, financial, legal and operational consequences.
 14
 15         We receive, transmit and store a large volume of personally identifiable
 16         information and other data on our platform. We are subject to numerous
 17         laws and regulations that address privacy, data protection and the
 18         collection, storing, sharing, use, disclosure and protection of certain
 19         types of data in various jurisdictions. See “Regulation” for laws, rules
 20         and regulations applicable to us, including the Data Security Law
 21         promulgated by the Standing Committee of the National People's
 22         Congress of China in June 2021, which will take effect in September
 23         2021. Interpretation, application and enforcement of these laws, rules
 24         and regulations evolve from time to time and their scope may
 25         continually change, through new legislation, amendments to existing
 26         legislation and changes in enforcement. We have incurred, and will
 27         continue to incur, significant expenses in an effort to comply with
 28         privacy, data protection and information security standards and
 29
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  1         protocols imposed by law, regulation, industry standards or contractual
  2         obligations. Changes in existing laws or regulations or adoption of new
  3         laws and regulations relating to privacy, data protection and
  4         information security, particularly any new or modified laws or
  5         regulations that require enhanced protection of certain types of data or
  6         new obligations with regard to data retention, transfer or disclosure,
  7         could greatly increase the cost to us of providing our service offerings,
  8         require significant changes to our operations or even prevent us from
  9         providing certain service offerings in jurisdictions in which we
 10         currently operate or in which we may operate in the future.
 11
 12         Despite our efforts to comply with applicable laws, regulations and
 13         other obligations relating to privacy, data protection and information
 14         security, it is possible that our practices, offerings or platform could
 15         fail to meet all of the requirements imposed on us by such laws,
 16         regulations or obligations. Any failure on our part to comply with
 17         applicable laws or regulations or any other obligations relating to
 18         privacy, data protection or information security, or any compromise of
 19         security that results in unauthorized access, use or release of personally
 20         identifiable information or other data, or the perception or allegation
 21         that any of the foregoing types of failure or compromise has occurred,
 22         could damage our reputation, discourage new and existing drivers and
 23         riders from using our platform or result in investigations, fines,
 24         suspension of one or more of our apps, or other penalties by government
 25         authorities and private claims or litigation, any of which could
 26         materially adversely affect our business, financial condition and results
 27         of operations. Even if our practices are not subject to legal challenge,
 28         the perception of privacy concerns, whether or not valid, may harm our
 29
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  1         reputation and brand and adversely affect our business, financial
  2         condition and results of operations.
  3
  4         Maintaining and enhancing our brand and reputation is critical to
  5         our business prospects. We were subject to negative publicity in the
  6         past, and failure to maintain our brand and reputation will cause our
  7         business to suffer.
  8
  9         Maintaining and enhancing our brand and reputation is critical to
 10         our ability to attract new consumers, drivers and partners to our
 11         platform, to preserve and deepen the engagement of our existing
 12         consumers, drivers and partners and to mitigate legislative or
 13         regulatory scrutiny, litigation, government investigations and adverse
 14         public sentiment. Negative publicity, whether or not justified, can
 15         spread rapidly through social media. To the extent that we are unable
 16         to respond timely and appropriately to negative publicity, our
 17         reputation and brand can be harmed. ...
 18
 19   (Emphasis added.)
 20         65.    The statements contained in ¶¶ 59-64 were materially false and/or
 21   misleading because Defendants misrepresented and failed to disclose the following
 22   adverse facts pertaining to the Company’s business, operations and prospects, which
 23   were known to Defendants or recklessly disregarded by them. Specifically, the
 24   Registration Statement was false and/or misleading and/or failed to disclose that: (1)
 25   the CAC urged Defendant DiDi to delay its IPO; (2) Defendant DiDi “had the
 26   problem of collecting personal information in violation of relevant PRC laws and
 27   regulations”; (3) Defendant DiDi could not guarantee acceptable levels of data
 28   security; (4) due to the foregoing, Defendant DiDi would face “serious, perhaps
 29
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  1   unprecedented, penalties” from relevant authorities; (5) DiDi and its many apps
  2   would face an imminent cybersecurity review by the CAC, which could lead to
  3   removal of Didi’s apps from app stores; and (6) as a result, Defendants’ statements
  4   about the Company’s business, operations, and prospects were materially false and
  5   misleading and/or lacked a reasonable basis at all relevant times.
  6         66.    The statements contained in ¶¶ 59-64 were materially false and/or
  7   misleading because Defendants misrepresented and failed to disclose the following
  8   adverse facts pertaining to the Company’s business, operations and prospects, which
  9   were known to Defendants or recklessly disregarded by them. Specifically,
 10   Defendants made false and/or misleading statements and/or failed to disclose that:
 11   (1) the CAC urged Defendant DiDi to delay its IPO; (2) Defendant DiDi “had the
 12   problem of collecting personal information in violation of relevant PRC laws and
 13   regulations”; (3) Defendant DiDi could not guarantee an acceptable level of data
 14   security; (4) due to the foregoing, Defendant DiDi would face “serious, perhaps
 15   unprecedented, penalties” from relevant authorities; (5) DiDi and its many apps
 16   would face an imminent cybersecurity review by the CAC, which could lead to
 17   removal of Didi’s apps from app stores; and (6) as a result, Defendants’ statements
 18   about the Company’s business, operations, and prospects were materially false and
 19   misleading and/or lacked a reasonable basis at all relevant times.
 20                        THE TRUTH BEGINS TO EMERGE
 21         67.    Then on July 2, 2021, just two days after the IPO, the Company issued
 22   a press release entitled “DiDi Announces Cybersecurity Review in China” which
 23   announced, in relevant part, that: “pursuant to the announcement posted by the
 24   PRC’s Cyberspace Administration Office on July 2, 2021, DiDi is subject to
 25   cybersecurity review by the authority. During the review, DiDi is required to
 26   suspend new user registration in China.”
 27         68.    On this news, the Company’s ADS price fell 5% to close at $15.53 per
 28   ADS on July 2, 2021, damaging investors.
 29
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  1         69.   On July 4, 2021, the Company issued a press release entitled “DiDi
  2   Announces App Takedown in China” which announced, in relevant part, that:
  3
  4         according to the announcement posted by the Cyberspace
  5         Administration of China (the “CAC”) on July 4, 2021, the CAC stated
  6         that it was reported and confirmed that the “DiDi Chuxing” app had
  7         the problem of collecting personal information in violation of
  8         relevant PRC laws and regulations. Pursuant to the PRC’s
  9         Cybersecurity Law, the CAC notified app stores to take down the
 10         “DiDi Chuxing” app in China, and required the Company to strictly
 11         comply with relevant laws and regulations, follow the relevant
 12         standards set by the PRC government authorities, and rectify the
 13         problem to ensure the security of users' personal information.
 14
 15         Once the “DiDi Chuxing” app is taken down from app stores in China,
 16         the app can no longer be downloaded in China, although existing users
 17         who had previously downloaded and installed the app on their phones
 18         prior to the takedown may continue using it. The Company will strive
 19         to rectify any problems, improve its risk prevention awareness and
 20         technological capabilities, protect users’ privacy and data security, and
 21         continue to provide secure and convenient services to its users. The
 22         Company expects that the app takedown may have an adverse impact
 23         on its revenue in China.
 24
 25   (Emphasis added.)
 26         70.   The statements contained in ¶¶ 67 and 69 were materially false and/or
 27   misleading because they misrepresented and failed to disclose the following adverse
 28   facts pertaining to the Company’s business, operations and prospects, which were
 29
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  1   known to Defendants or recklessly disregarded by them. Specifically, Defendants
  2   made false and/or misleading statements and/or failed to disclose that: (1) the CAC
  3   urged Defendant DiDi to delay its IPO; (2) Defendant DiDi “had the problem of
  4   collecting personal information in violation of relevant PRC laws and regulations”;
  5   (3) Defendant DiDi could not guarantee an acceptable level of data security; (4) due
  6   to the foregoing, Defendant DiDi would face “serious, perhaps unprecedented,
  7   penalties” from relevant authorities; (5) DiDi and its many apps would face an
  8   imminent cybersecurity review by the CAC, which could lead to removal of Didi’s
  9   apps from app stores; and (6) as a result, Defendants’ statements about the
 10   Company’s business, operations, and prospects were materially false and
 11   misleading and/or lacked a reasonable basis at all relevant times.
 12                               THE TRUTH EMERGES
 13         71.    On July 5, 2021, just five days after the IPO, the Wall Street Journal
 14   published an article entitled “Chinese Regulators Suggested Didi Delay Its U.S.
 15   IPO: Ride-hailing giant, under pressure to reward shareholders, pushed ahead with
 16   NYSE listing despite concerns of China’s cybersecurity watchdog” which reported
 17   the following, in pertinent part:
 18
 19         Weeks before Didi Global Inc. [] went public in the U.S., China’s
 20         cybersecurity watchdog suggested the Chinese ride-hailing giant
 21         delay its initial public offering and urged it to conduct a thorough
 22         self-examination of its network security, according to people with
 23         knowledge of the matter.
 24
 25         But for Didi, waiting would be problematic. In the absence of an
 26         outright order to halt the IPO, it went ahead.
 27
 28
 29
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  1         The company, facing investor pressure to list after raising billions of
  2         dollars from prominent venture capitalists, wrapped up its pre-offering
  3         “roadshow” in a matter of days in June—much shorter than typical
  4         investor pitches made by Chinese firms. The listing on the New York
  5         Stock Exchange raised about $4.4 billion, making it the biggest stock
  6         sale for a Chinese company since Alibaba Group Holding Ltd.
  7         BABA[]’s IPO in 2014.
  8
  9         Back in Beijing, officials, especially those at the Cyberspace
 10         Administration of China, remained wary of the ride-hailing company’s
 11         troves of data potentially falling into foreign hands as a result of greater
 12         public disclosure associated with a U.S. listing, the people said.
 13
 14         Didi’s American depositary shares began trading in New York on
 15         Wednesday, just a day before the ruling Communist Party celebrated
 16         its centenary.
 17
 18         The Cyberspace Administration waited a day after the major political
 19         event to deliver a one-two punch to the company. On Friday, it started
 20         its own cybersecurity review into Didi and blocked the company’s app
 21         from accepting new users; and on Sunday, it ordered mobile app stores
 22         to pull Didi from circulation.
 23
 24   (Emphasis added.)
 25         72.   On this news, the Company’s ADS price fell 4% to close at $11.91 per
 26   ADS on July 7, 2021.
 27         73.   On July 9, 2021, the Wall Street Journal published an article entitled
 28   “China Orders Stores to Remove More Apps Operated by Didi: Cyber watchdog
 29
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  1   says the apps illegally collect personal data” which reported the following, in
  2   pertinent part:
  3
  4         China ordered mobile app stores to remove 25 more apps operated by
  5         Didi Global Inc.’s [] China arm, saying the apps illegally collect
  6         personal data, escalating its regulatory actions against the ride-hailing
  7         company.
  8
  9         The apps newly targeted on Friday include Didi’s app for drivers
 10         offering rides through its platform, an app for corporate users and a
 11         financing app. …
 12
 13         The cyber watchdog also banned websites and platforms from
 14         providing access to Didi-linked services in China, according to the
 15         watchdog’s statement.
 16
 17                                      *      *      *
 18
 19         Didi said it will follow the authorities’ orders. In a statement it posted
 20         on social media platform Weibo, the company also said it guarantees
 21         personal data security. …
 22
 23         Users of Didi’s main app in China are able to hail rides, rent bikes and
 24         even buy groceries. Other apps operated by Didi are linked to, or
 25         supplement, services offered on the main app. The apps that regulators
 26         targeted Friday include those for drivers providing rides through Didi
 27         and types for specific users such as corporate customers or the elderly.
 28
 29
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  1         The latest regulatory actions could further dent Didi’s business in its
  2         home market, which the company relies heavily on for revenue even
  3         as it expands into overseas markets. …
  4
  5         Some rivals have already started marketing more aggressively in
  6         recent days in an effort to steal market share. Didi’s Chinese market
  7         share is around 80% to 90%, according to Cherry Leung, an analyst at
  8         Sanford C. Bernstein in Hong Kong.
  9
 10   (Emphasis added.)
 11         74.   On July 12, 2021, before the market opened, the Company issued a
 12   press release entitled “Didi Announces Takedown of Additional Apps in China”
 13   which announced the following, in pertinent part:
 14         According to the announcement posted by the Cyberspace
 15         Administration of China (the “CAC”) on July 9, 2021, the CAC stated
 16         that it was confirmed that 25 apps operated by the Company in China,
 17         including the apps used by users and drivers, had the problem of
 18         collecting personal information in serious violation of relevant PRC
 19         laws and regulations. Pursuant to the PRC’s Cybersecurity Law, the
 20         CAC notified app stores to take down these apps and cease to provide
 21         viewing and downloading service in China, and required the Company
 22         to strictly comply with relevant laws and regulations, follow the
 23         relevant standards set by the PRC government authorities, and rectify
 24         the problem to ensure the security of users’ personal information.
 25         The Company expects that the app takedown may have an adverse
 26         impact on its revenue in China.
 27
 28   (Emphasis added.)
 29
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  1         75.    On this news, the Company’s ADS price fell 7%, to close at $12.49 per
  2   ADS on July 12, 2021, further damaging investors.
  3         76.    On July 16, 2021, the Wall Street Journal published an article entitled
  4   “China Sends State Security, Police Officials to Didi for Cybersecurity Probe” which
  5   reported the following, in pertinent part:
  6
  7         China sent regulators including state security and police officials to
  8         Didi Global Inc.’s [] ride-hailing business on Friday as part of a
  9         cybersecurity investigation, the latest development in a regulatory saga
 10         that has gripped China’s tech industry.
 11
 12         Regulators from government units including the Ministry of Public
 13         Security, the Ministry of State Security, the Cyberspace Administration
 14         of China, the Ministry of Transport and Ministry of Natural Resources
 15         will be stationed at Didi starting Friday for the investigation, the
 16         cyberspace administration said in an online statement.
 17
 18         The Cyberspace Administration of China, the country’s internet
 19         regulator, earlier this month ordered Didi to undergo a cybersecurity
 20         review over national-security concerns, days after the company raised
 21         $4.4 billion in a New York initial public offering. The regulator also
 22         said Didi illegally collected personal data and ordered more than two
 23         dozen of its apps removed from app stores.
 24
 25         The Ministry of Public Security is in charge of China’s domestic
 26         security, while the Ministry of State Security oversees the country’s
 27         civilian arm for intelligence gathering and counterespionage. …
 28
 29
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  1         Still, their participation signals the potentially serious nature of the
  2         investigation. Potential outcomes include financial penalties,
  3         suspensions of business licenses and criminal charges.
  4
  5         The large number of ministries participating in the probe also
  6         highlights the breadth of the data Didi holds and that is now coming
  7         under regulatory scrutiny. The Transport Ministry regulates the ride-
  8         hailing industry, while the Ministry of Natural Resources is in charge
  9         of mapping and road surveying.
 10
 11   (Emphasis added.)
 12         77.   On the same day, Forbes published an article entitled: “Didi Faces
 13   Cybersecurity Investigation By Seven Government Departments.” In the article,
 14   Shen Meng, director of Beijing-based investment bank Chanson and Co., is states
 15   that DiDi’s rush to complete its IPO before getting regulatory approval “is clearly
 16   not allowed.”
 17         78.   On July 18, 2021, the Wall Street Journal published an article entitled
 18   “In the New China, Didi’s Data Becomes a Problem” which reported the following,
 19   in pertinent part, regarding the amount and types of data the Company holds and
 20   compiles:
 21
 22         Bolstered by its wide swath of data on users, mapping and traffic, Didi
 23         Global Inc. became the dominant ride-hailing company in China.
 24         Now, that data is turning into a liability. …
 25
 26         [Chinese state-security, police officials, and other regulators’] target is
 27         a company with 377 million annual active users and 13 million annual
 28         active drivers in China. Users turn over their cellphone numbers,
 29
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  1         which in China are linked to their real names and identifications.
  2         They also often voluntarily share photos, frequent destinations such
  3         as home and office, their gender, age, occupation and companies. To
  4         use other Didi services such as carpooling or bike sharing, customers
  5         might also have to share other personal information including facial-
  6         recognition data.
  7
  8         Drivers must give Didi their real names, vehicle information, criminal
  9         records, and credit- and bank-card information.
 10
 11         The company in securities filings touts its repository of real-world
 12         traffic data as the world’s largest. The 25 million daily rides on its
 13         platform in China feed a database of pickup points, destinations,
 14         routes, distance and duration. In-car cameras and voice recorders
 15         capture conversations.
 16
 17         Adding to the sensitivity, the company in 2017 won a government
 18         license to produce high-precision maps, a sector shut to foreign
 19         companies for national-security reasons. It is a rare privilege—only
 20         29 Chinese entities are licensed to do detailed surveying and mapping,
 21         according to data compiled by researcher IDC and government
 22         statements. That, combined with Didi’s real-time location data, could
 23         raise national-security concerns, analysts and lawyers said.
 24
 25         “Mapping points to potentially sensitive areas such as Chinese defense
 26         zones, and this can be a treasure trove of information for hostile actors,”
 27         said Carly Ramsey, a Shanghai-based director at consulting firm
 28         Control Risks Group. …
 29
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  1
  2         The company has said it stores all its domestic user data in China. In
  3         addition to ride hailing and bike sharing, the company operates
  4         financial services, a group-buying grocery business, and a van-hailing
  5         service for moving or carrying large items.
  6
  7         A 2015 collaboration between Didi and a unit of China’s state-run
  8         Xinhua News Agency provided startling visibility into what this data
  9         could reveal about the government. The project analyzed rides to or
 10         from various government departments, including 1,327 trips in 24
 11         hours to or from the Ministry of Public Security, China’s police. The
 12         article gave a detailed hourly breakdown of the arrivals and departures,
 13         then cross-referenced them to investigations in the news to speculate
 14         about what cases might have been keeping officers busy.
 15
 16         Xinhua and Didi also compared rides to and from about 20 other
 17         ministries and government departments. The data showed 298 rides
 18         left the now-dissolved Ministry of Land and Resources between the
 19         hours of 6 p.m. and 2 a.m. in the two days the study was conducted,
 20         leading the authors to conclude the ministry had the “most ruthless”
 21         overtime hours.
 22
 23                                     *      *      *
 24
 25         In 2017, state-run CCTV ran an exposé showing how a consumer’s
 26         Didi user records, including pickup and drop-off locations and
 27         timings, could be purchased on the black market for the equivalent of
 28         around $8.50 for a page of data.
 29
                                             - 31 -
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  1
  2                                        *     *      *
  3
  4         In March, a Didi executive speaking at a “smart transportation”
  5         conference in Nanjing, in eastern China, said the company could be a
  6         valuable partner to the Transport Ministry, according to material posted
  7         on the event organizer’s website. Didi cars travel Beijing streets
  8         hundreds of times every day, if not more, and the data gathered gives
  9         an accurate picture of the city’s traffic conditions, said Ding Neng, a
 10         vice president at the company. The in-car cameras Didi has installed
 11         in more than 300 Chinese cities also constantly record video from
 12         inside and outside the vehicle, Mr. Ding told attendees.
 13
 14         In Shenzhen, Didi built a big data transportation management
 15         platform with the local transportation regulator. The company also
 16         helped install hundreds of smart traffic signals in Wuhan, Jinan and
 17         other cities to ease congestion by crunching data from its ride-hailing
 18         operations, including routes and speeds.
 19
 20         However, the company has resisted sharing certain data with regulators.
 21         In 2018, after two incidents of female passengers killed by Didi drivers,
 22         a Guangdong province transportation official said the company
 23         hadn’t fully complied with regulations that required it to send real-
 24         time data on vehicle routes and driver information to a supervising
 25         platform run by authorities.
 26
 27   (Emphasis added.)
 28         79.   On this news, the Company’s ADS price fell 7%, to close at $11.06 per
 29
                                               - 32 -
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  1   ADS on July 19, 2021, further damaging investors.
  2         80.    On July 20, 2021, pre-mark, Reuters published an article entitled
  3   “EXCLUSIVE How Didi’s govt [SIC] relations team navigated myriad regulators,
  4   until IPO dustup” which reported that “only 20%-30% of Didi’s business [SIC] in
  5   China are fully compliant with regulations requiring three permits: one for the
  6   company to provide online ride-hailing services, a transportation permit for the
  7   vehicle and a license for the driver.” Further, Reuters reported that “[i]n the run up
  8   to the IPO, the [government relations] team came under pressure from senior
  9   management to fend off regulatory scrutiny and it, in turn, relied heavily on ‘guanxi’,
 10   or personal relationships[.]”
 11         81.    On July 22, 2021, pre-market, Bloomberg published an article entitled
 12   “China Weighs Unprecedented Penalty for Didi After U.S. IPO” which reported the
 13   following, in pertinent part:
 14
 15         Chinese regulators are considering serious, perhaps unprecedented,
 16         penalties for Didi Global Inc. after its controversial initial public
 17         offering last month, according to people familiar with the matter.
 18
 19         Regulators see the ride-hailing giant's decision to go public despite
 20         pushback from the Cyberspace Administration of China as a challenge
 21         to Beijing’s authority, the people said, asking not to be named because
 22         the matter is private. …
 23
 24         Regulators are weighing a range of potential punishments, including
 25         a fine, suspension of certain operations or the introduction of a state-
 26         owned investor, the people said. Also possible is a forced delisting or
 27         withdrawal of Didi’s U.S. shares, although it’s unclear how such an
 28         option would play out. …
 29
                                              - 33 -
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  1
  2         Beijing is likely to impose harsher sanctions on Didi than on Alibaba
  3         Group Holding Ltd., which swallowed a record $2.8 billion fine after
  4         a monthslong antitrust investigation and agreed to initiate measures to
  5         protect merchants and customers, the people said.
  6
  7                                      *       *    *
  8
  9         China’s regulators largely supported the idea of an IPO, but they
 10         expressed concerns about Didi’s data security practices since at least
 11         April, the people said. In one example of concern, Didi had disclosed
 12         statistics on taxi trips taken by government officials, one of the people
 13         said, although it’s not clear whether that specific issue was raised with
 14         the company.
 15
 16         Regulators urged Didi to ensure the security of its data before
 17         proceeding with the IPO or to shift the location to Hong Kong or
 18         mainland China where disclosure risks would be lower, the people
 19         said. Regulators didn’t explicitly forbid the company from going public
 20         in the U.S., but they felt certain Didi understood the official
 21         instructions, they said.
 22
 23         One person involved in the meetings, when asked why Didi didn’t act
 24         on suggestions from regulators, referred to a proverb that you can’t
 25         wake a person pretending to sleep.
 26
 27                                      *       *    *
 28
 29
                                             - 34 -
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  1         Some regulatory officials expressed in private that they think Didi may
  2         have rushed its IPO out before China unveiled a new web security law,
  3         which could have hurt its valuation, one of the people said. Just days
  4         after the offering, China proposed new rules that would require nearly
  5         all companies seeking to list in foreign countries to undergo a CAC
  6         cybersecurity review.
  7
  8                                     *      *      *
  9
 10         By March, they had homed in on the U.S. because the listing rules were
 11         more amenable and the company expected a better valuation from
 12         investors familiar with its American counterpart, Uber Technologies
 13         Inc. The Hong Kong exchange also questioned Didi’s compliance
 14         with Chinese regulations. It didn’t have licenses to operate in certain
 15         cities and many of its drivers lacked a household registration, or
 16         hukou, for the cities where they lived, part of municipal requirements
 17         for providing on-demand ride-hailing services there.
 18
 19                                     *      *      *
 20
 21         Cheng, President Jean Liu, investors and their bankers faced the
 22         choice of erring on the side of caution or proceeding with an offering
 23         that would fill the company’s coffers and enrich all of them. On June
 24         28, they gave the green light.
 25
 26   (Emphasis added.)
 27         82.   On this news, the Company’s ADS price fell $3.44 per ADS, nearly
 28   30%, over the next two trading days to close at $8.06 per ADS on July 23, 2021,
 29
                                             - 35 -
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  1   further damaging investors.
  2         83.    Since the IPO, and as a result of the disclosure of material adverse facts
  3   omitted from the Company’s Registration Statement, DiDi’s ADS price has fallen
  4   significantly below its IPO price, damaging Plaintiff and Class members.
  5         84.    Additionally, due to the materially deficient Registration Statement,
  6   Defendants have also violated their independent, affirmative duty to provide
  7   adequate disclosures about adverse conditions, risk and uncertainties that were or
  8   were reasonably likely to adversely affect the Company. Item 303 of SEC Reg. S-
  9   K, 17 C.F.R. § 229.303(a)(3)(ii) requires that the materials incorporated in a
 10   registration statement disclose all “known trends or uncertainties” reasonably
 11   expected to have a material unfavorable impact on the Company’s operations.
 12         85.    As a result of Defendants’ wrongful acts and omissions, and the decline
 13   in the market value of the Company’s securities, Plaintiff and other Class members
 14   have suffered significant losses and damages.
 15                  PLAINTIFF’S CLASS ACTION ALLEGATIONS
 16         86.    Plaintiff brings this action as a class action on behalf of all those who
 17   purchased the Company’s securities pursuant and/or traceable to the Registration
 18   Statement and/or during the Class Period (the “Class”). Excluded from the Class are
 19   Defendants and their families, the officers and directors and affiliates of Defendants,
 20   at all relevant times, members of their immediate families and their legal
 21   representatives, heirs, successors or assigns and any entity in which Defendants
 22   have or had a controlling interest.
 23         87.    The members of the Class are so numerous that joinder of all members
 24   is impracticable. While the exact number of Class members is unknown to Plaintiff
 25   at this time and can only be ascertained through appropriate discovery, Plaintiff
 26   believes that there are at least thousands of members in the proposed Class. Record
 27   owners and other members of the Class may be identified from records maintained
 28   by the Company or its transfer agent and may be notified of the pendency of this
 29
                                              - 36 -
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  1   action by mail, using the form of notice similar to that customarily used in securities
  2   class actions.
  3          88.    Plaintiff’s claims are typical of the claims of the members of the Class
  4   as they were similarly affected by Defendants’ wrongful conduct in violation of
  5   federal law that is complained of herein.
  6          89.    Plaintiff will fairly and adequately protect the interests of the members
  7   of the Class and has retained counsel competent and experienced in class and
  8   securities litigation.
  9          90.    Common questions of law and fact exist as to all members of the Class
 10   and predominate over any questions solely affecting individual members of the
 11   Class. Among the questions of law and fact common to the Class are:
 12          (a)    whether Defendants violated the federal securities laws;
 13          (b)    whether the Registration Statement contained false or misleading
 14   statements of material fact and omitted material information required to be stated
 15   therein; and to what extent the members of the Class have sustained damages and
 16   the proper measure of damages;
 17          (c)    whether Defendants’ statements to the investing public during the
 18   Class Period misrepresented material facts about the financial condition, business,
 19   operations, outlook and/or management of the Company;
 20          (d)    whether Defendants’ statements to the investing public during the
 21   Class Period omitted material facts necessary to make the statements made, in light
 22   of the circumstances under which they were made, not misleading;
 23          (e)    whether Defendants caused the Company to issue false and misleading
 24   SEC filings and public statements during the Class Period;
 25          (f)    whether Defendants acted knowingly or recklessly in issuing false and
 26   misleading SEC filings and public statements during the Class Period;
 27
 28
 29
                                               - 37 -
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  1         (g)    whether the prices of the Company’s securities during the Class Period
  2   were artificially inflated because of the Defendants’ conduct complained of herein;
  3   and
  4         (h)    to what extent the members of the Class have sustained damages and
  5   the proper measure of damages.
  6         91.    A class action is superior to all other available methods for the fair and
  7   efficient adjudication of this controversy since joinder of all members is
  8   impracticable. Furthermore, as the damages suffered by individual Class members
  9   may be relatively small, the expense and burden of individual litigation make it
 10   impossible for members of the Class to individually redress the wrongs done to
 11   them. There will be no difficulty in the management of this action as a class action.
 12                                       COUNT I
 13                    For Violations of Section 11 of the Securities Act
                                    Against All Defendants
 14
            92.    Plaintiff repeats and re-alleges each and every allegation contained
 15
      above, as if fully set forth herein.
 16
            93.    This Count is brought pursuant to Section 11 of the Securities Act, 15
 17
      U.S.C. § 77k, on behalf of the Class, against all Defendants.
 18
            94.    The Registration Statement contained untrue statements of material
 19
      facts, omitted to state other facts necessary to make the statements made not
 20
      misleading, and omitted to state material facts required to be stated therein.
 21
            95.    Defendants are strictly liable to Plaintiff and the Class for the
 22
      misstatements and omissions.
 23
            96.    None of the Defendants named herein made a reasonable investigation
 24
      or possessed reasonable grounds for the belief that the statements contained in the
 25
      Registration Statement were true and without omissions of any material facts and
 26
      were not misleading.
 27
 28
 29
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  1            97.   By reason of the conduct herein alleged, each Defendant violated or
  2   controlled a person who violated Section 11 of the Securities Act.
  3            98.   Plaintiff and other Class members acquired the Company’s securities
  4   pursuant to the Registration Statement.
  5            99.   At the time of their purchases of DiDi securities, Plaintiff and other
  6   members of the Class were without knowledge of the facts concerning the wrongful
  7   conduct alleged herein and could not have reasonably discovered those facts prior
  8   to the disclosures herein. Less than one year has elapsed from the time that Plaintiff
  9   discovered, or reasonably could have discovered, the facts upon which this
 10   Complaint is based, to the time that Plaintiff commenced this action. Less than
 11   three years have elapsed between the time that the securities upon which this Cause
 12   of Action is brought were offered to the public and the time Plaintiff commenced
 13   this action.
 14            100. Plaintiff and the Class have sustained damages. The value of DiDi
 15   securities has declined substantially due to Defendants’ violations.
 16                                        COUNT II
 17                    Violations of Section 12(a)(2) of the Securities Act
                                     Against All Defendants
 18
               101. Plaintiff repeats and re-alleges each and every allegation contained
 19
      above, as if fully set forth herein.
 20
               102. By means of the defective Registration Statement, Defendants
 21
      promoted, solicited, and sold DiDi securities to Plaintiff and other members of the
 22
      Class.
 23
               103. The Registration Statement for the IPO contained false and misleading
 24
      statements of material fact, and concealed and failed to disclose material facts, as
 25
      detailed above. Defendants owed Plaintiff and the other members of the Class who
 26
      purchased the Company’s securities pursuant to the Registration Statement the duty
 27
      to make a reasonable and diligent investigation of the statements contained in the
 28
 29
                                                - 39 -
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  1   Registration Statement to ensure that such statements were true and that there was
  2   no omission to state a material fact necessary to make the statements contained
  3   therein not misleading. Defendants, in the exercise of reasonable care, should have
  4   known of the misstatements and omissions contained in the Registration Statement
  5   as set forth above.
  6         104. Plaintiff did not know, nor in the exercise of reasonable diligence could
  7   Plaintiff have known, of the untruths and omissions contained in the Registration
  8   Statement at the time Plaintiff acquired DiDi securities. This claim is brought
  9   within one year after discovery of the untrue statements and/or omissions in the IPO
 10   that should have been made and/or corrected through the exercise of reasonable
 11   diligence, and within three years of the effective date of the IPO. It is therefore
 12   timely.
 13         105. By reason of the conduct alleged herein, Defendants violated Section
 14   12(a)(2) of the Securities Act, 15 U.S.C. § 77l(a)(2). As a direct and proximate result
 15   of such violations, Plaintiff and the other members of the Class who purchased DiDi
 16   securities pursuant to the Registration Statement sustained substantial damages in
 17   connection with their purchases of the shares. Accordingly, Plaintiff and the other
 18   members of the Class who hold the securities issued pursuant to the Registration
 19   Statement have the right to rescind and recover the consideration paid for their
 20   shares, and hereby tender their securities to Defendants sued herein. Class members
 21   who have sold their securities seek damages to the extent permitted by law.
 22                                       COUNT III
 23                      Violations of Section 15 of the Securities Act
                              Against the Individual Defendants
 24
            106. Plaintiff repeats and re-alleges each and every allegation contained
 25
      above, as if fully set forth herein.
 26
            107. This cause of action is brought pursuant to Section 15 of the Securities
 27
      Act, 15 U.S.C. § 77o against all Defendants except the Underwriter Defendants.
 28
 29
                                              - 40 -
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  1         108.    The Individual Defendants were controlling persons of DiDi within
  2   the meaning of the Securities Act by virtue of their positions as directors and/or
  3   senior officers of the Company. The Individual Defendants each had a series of
  4   direct and indirect business and personal relationships with other directors and
  5   officers and major shareholders of the Company. The Company controlled the
  6   Individual Defendants and all of DiDi employees.
  7         109. The Company and the Individual Defendants were culpable
  8   participants in the violations of Sections 11 and 12(a)(2) of the Securities Act as
  9   alleged above, based on their having signed or authorized the signing of the
 10   Registration Statement and having otherwise participated in the process which
 11   allowed the IPO to be successfully completed.
 12         110. This claim is brought within one year after discovery of the untrue
 13   statements and/or omissions in the IPO that should have been made and/or corrected
 14   through the exercise of reasonable diligence, and within three years of the effective
 15   date of the IPO. It is therefore timely.
 16                                     COUNT IV
 17           Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                 Against Defendants DiDi and the Executive Defendants
 18
            111. Plaintiff repeats and realleges each and every allegation contained
 19
      above as if fully set forth herein.
 20
            112. This Count is asserted against the Company and the Executive
 21
      Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. §
 22
      78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
 23
            113.    During the Class Period, Defendants DiDi and the Executive
 24
      Defendants, individually and in concert, carried out a plan, scheme, and course of
 25
      conduct which was intended to, and did: (i) deceive the investing public, including
 26
      Plaintiff and the other Class members, as alleged herein; and (ii) caused Plaintiff
 27
      and the other members of the Class to purchase DiDi securities at artificially inflated
 28
 29
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  1   prices. In furtherance of this unlawful scheme, plan, and course of conduct, each of
  2   these Defendants took the actions set forth herein.
  3         114. During the Class Period, Defendants DiDi and the Executive
  4   Defendants, directly or indirectly, disseminated or approved the false statements
  5   specified above, which they knew or deliberately disregarded were misleading in
  6   that they contained misrepresentations and failed to disclose material facts
  7   necessary in order to make the statements made, in light of the circumstances under
  8   which they were made, not misleading.
  9         115. Defendants DiDi and the Executive Defendants violated Section 10(b)
 10   of the 1934 Act and Rule 10b-5 in that they:
 11         (a)    employed devices, schemes and artifices to defraud;
 12         (b)    made untrue statements of material facts or omitted to state material
 13   facts necessary in order to make the statements made, in light of the circumstances
 14   under which they were made, not misleading; or
 15         (c)    engaged in acts, practices and a course of business that operated as a
 16   fraud or deceit upon plaintiff and others similarly situated in connection with their
 17   purchases of the Company’s securities during the Class Period.
 18         116. Defendants DiDi and the Executive Defendants acted with scienter in
 19   that they knew that the public documents and statements issued or disseminated in
 20   the name of the Company were materially false and misleading; knew that such
 21   statements or documents would be issued or disseminated to the investing public;
 22   and knowingly and substantially participated, or acquiesced in the issuance or
 23   dissemination of such statements or documents as primary violations of the
 24   securities laws. These defendants by virtue of their receipt of information reflecting
 25   the true facts of the Company, their control over, and/or receipt and/or modification
 26   of the Company’s allegedly materially misleading statements, and/or their
 27   associations with the Company which made them privy to confidential proprietary
 28
 29
                                              - 42 -
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  1   information concerning the Company, participated in the fraudulent scheme alleged
  2   herein.
  3          117.    The Executive Defendants, who are senior officers and/or directors of
  4   the Company, had actual knowledge of the material omissions and/or the falsity of
  5   the material statements set forth above, and intended to deceive Plaintiff and the
  6   other members of the Class, or, in the alternative, acted with reckless disregard for
  7   the truth when they failed to ascertain and disclose the true facts in the statements
  8   made by them or other personnel of the Company to members of the investing
  9   public, including Plaintiff and the Class.
 10          118. As a result of the foregoing, the market price of the Company’s
 11   securities was artificially inflated during the Class Period. In ignorance of the falsity
 12   of the Company’s and the Executive Defendants’ statements, Plaintiff and the other
 13   members of the Class relied on the statements described above and/or the integrity
 14   of the market price of the Company’s securities during the Class Period in
 15   purchasing the Company’s securities at prices that were artificially inflated as a
 16   result of the Company’s and the Executive Defendants’ false and misleading
 17   statements.
 18          119. Had Plaintiff and the other members of the Class been aware that the
 19   market price of DiDi securities had been artificially and falsely inflated by the
 20   Company’s and the Executive Defendants’ misleading statements and by the
 21   material adverse information which the Company and the Executive Defendants did
 22   not disclose, they would not have purchased the Company’s securities at the
 23   artificially inflated prices that they did, or at all.
 24          120.    As a result of the wrongful conduct alleged herein, Plaintiff and other
 25   members of the Class have suffered damages in an amount to be established at trial.
 26          121. By reason of the foregoing, the Company and the Executive
 27   Defendants have violated Section 10(b) of the 1934 Act and Rule 10b-5
 28   promulgated thereunder and are liable to the Plaintiff and the other members of the
 29
                                                  - 43 -
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  1   Class for substantial damages which they suffered in connection with their
  2   purchases of the Company’s securities during the Class Period.
  3         122. This action was filed within two years of discovery of the fraud and
  4   within five years of Plaintiff’s purchase of securities giving rise to the cause of
  5   action.
  6                                       COUNT V
  7                    Violation of Section 20(a) of The Exchange Act
                              Against the Executive Defendants
  8
            123. Plaintiff repeats and realleges each and every allegation contained in
  9
      the foregoing paragraphs as if fully set forth herein.
 10
            124. The Executive Defendants acted as controlling persons of DiDi within
 11
      the meaning of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a), as alleged
 12
      herein. During the Class Period, the Executive Defendants participated in the
 13
      operation and management of the Company, and conducted and participated,
 14
      directly and indirectly, in the conduct of the Company’s business affairs. Because
 15
      of their senior positions, they knew the adverse non-public information regarding
 16
      the Company’s business practices. The Executive Defendants were provided with,
 17
      or had unlimited access to, copies of the Company’s reports, press releases, public
 18
      filings, and other statements alleged by Plaintiff to have been misleading prior to,
 19
      and/or shortly after, these statements were issued and had the ability to prevent the
 20
      issuance of the statements or to cause the statements to be corrected.
 21
            125. As officers and/or directors of a publicly owned company, the
 22
      Executive Defendants had a duty to disseminate accurate and truthful information
 23
      with respect to the Company’s financial condition and operations, and to correct
 24
      promptly any public statements issued by the Company which had become
 25
      materially false or misleading.
 26
            126. Because of their positions of control and authority as senior officers,
 27
      the Executive Defendants were able to, and did, control the contents of the various
 28
 29
                                              - 44 -
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  1   reports, press releases and public filings which the Company disseminated in the
  2   marketplace during the Class Period. Throughout the Class Period, the Executive
  3   Defendants exercised their power and authority to cause the Company to engage in
  4   the wrongful acts complained of herein. The Executive Defendants, therefore, were
  5   “controlling persons” of the Company within the meaning of Section 20(a) of the
  6   Exchange Act. In this capacity, they participated in the unlawful conduct alleged
  7   which artificially inflated the market price of the Company’s securities.
  8         127. The Executive Defendants, therefore, acted as controlling persons of
  9   the Company. By reason of their senior management positions and/or directors of
 10   the Company, they had the power to direct the actions of, and exercised the same to
 11   cause, the Company to engage in the unlawful acts and conduct complained of
 12   herein. The Executive Defendants exercised control over the general operations of
 13   the Company and possessed the power to control the specific activities which
 14   comprise the primary violations about which Plaintiff and the other members of the
 15   Class complain.
 16         128. By reason of the above conduct, the Executive Defendants are liable
 17   pursuant to Section 20(a) of the Exchange Act for the violations committed by the
 18   Company
 19                                PRAYER FOR RELIEF
 20         WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for
 21   judgment and relief as follows:
 22         (a)    declaring this action to be a proper class action, designating Plaintiff as
 23   Lead Plaintiff and certifying Plaintiff as a class representative under Rule 23 of the
 24   Federal Rules of Civil Procedure and designating Plaintiff’s counsel as Lead
 25   Counsel;
 26         (b)    awarding damages in favor of Plaintiff and the other Class members
 27   against all Defendants, jointly and severally, together with interest thereon;
 28
 29
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  1           (c)   awarding Plaintiff and the Class reasonable costs and expenses incurred
  2   in this action, including counsel fees and expert fees; and
  3           (d)   awarding Plaintiff and other members of the Class such other and
  4   further relief as the Court may deem just and proper.
  5                               JURY TRIAL DEMANDED
  6           Plaintiff hereby demands a trial by jury.
  7   DATED: September 2, 2021                WOLF HALDENSTEIN ADLER
  8                                            FREEMAN & HERZ LLP

  9                                     By:             /s/ Rachele R. Byrd
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